






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO.  03-02-00065-CV







Kevin M. Salsich, Mary Salsich and Sarah Josephine Salsich, Appellants



v.



Karen Salsich, Appellee







FROM THE PROBATE COURT NO. 1 OF TRAVIS COUNTY


NO. 69-869-A, HONORABLE GUY S. HERMAN, JUDGE PRESIDING



	


	Appellants filed an unopposed motion to dismiss their appeal advising that they have
settled their dispute with appellee and no longer desire to pursue this appeal.

	The appeal is dismissed on motion of appellants.  Tex. R. App. P. 42.1(a)(2).



					                                                                                  

					Jan P. Patterson, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed on Appellants' Motion

Filed:   June 6, 2002

Do Not Publish


